 Case 1:17-cv-00331-JTN-ESC ECF No. 46 filed 04/23/18 PageID.161 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 CLEON BROWN,

        Plaintiff,
                                                                     Case No. 1:17-cv-331
 v.
                                                                     HON. JANET T. NEFF
 CITY OF HASTINGS, et al.,

       Defendants.
 ______________________________/


                                             ORDER

       Pending before the Court is Defendants’ Unopposed Motion to Exceed Page Limitation

(ECF No. 45). The Court, having reviewed the motion, finds that the motion fails to comply with

W.D. Mich. LCivR 5.7(f), which requires the proposed document to be attached as an exhibit to

the motion seeking leave to file. For this reason, the motion is denied without prejudice to refile.

Accordingly:

       IT IS HEREBY ORDERED that the Unopposed Motion to Exceed Page Limitation (ECF

No. 45) is DENIED without prejudice.



Dated: April 23, 2018                                         /s/ Janet T. Neff
                                                             JANET T. NEFF
                                                             United States District Judge
